             Case 22-60043 Document 378 Filed in TXSB on 01/09/23 Page 1 of 1

                                UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF
                                             TEXAS
                                       HOUSTON DIVISION



                                                                             Case number 22-60043

In re: FREE SPEECH SYSTEMS LLC

Taxpayer number: XXXXXXX6953

                                      WITHDRAWAL OF
                                         CLAIM # 36
                   ADMINISTRATIVE EXPENSE CLAIM AND REQUEST FOR PAYMENT

Name of Creditor: Texas Comptroller of Public Accounts
                  on behalf of the State of Texas
                  and local sales tax jurisdictions.

Send notices to: Office of the Attorney General
                 Bankuptcy & Collections Division MC-008
                 P.O. Box 12548
                 Austin, TX 78711-2548
                 Phone: 512-463-2173

   1. DATE OF CLAIM AND REQUEST: 10/13/2022

   2. TOTAL AMOUNT OF CLAIM AND REQUEST: $ 27,882.13
      SALES AND USE TAX CH. 151,(321,322,323)

   3. DATE DEBT WAS INCURRED: 07/30/2022 to 10/11/2022

   4. THE CLAIM REFERENCED ABOVE IS HEREBY WITHDRAWN




Date: 01/06/2023                                      /S/ LIONEL CORDELE KIMBLE
                                                      LIONEL CORDELE KIMBLE
                                                      Accounts Examiner
                                                      Revenue Accounting Division
                                                      Texas Comptroller of Public Accounts
                                                      512-463-4510



     Penalty for presenting fraudulent claim: fine of up to $500,000 or imprisonment for up to 5
                             years, or both. 18 U.S.C. secs. 152 and 3571

Form VT-359 (Rev.8-19/7)
